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:N THE UNITED sTATEs DISTRICT coURT HUU*L~"

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UN:TED STATES oF AMERICA ) @l§HL_Q;fM§V@r
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)
Plaintiff, )

)
vs. ) CR. No. 04-20419-D
MILTON CoLL:Ns )

Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

This Cause was set for a Suppression Hearing and Report Date
on May 24, 2005 at 3:00 p.m.

The Court hereby resets the trial date to July 5, 2005 with a
Suppression Hearing and Report Date on Thursdayl June 30l 2005 at
2:00 P.M., in Courtroom 3, 9th Floor of the Federal Building,
Memphis, TN.

The period from June l7, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3161(h)(l)(F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

IT IS SO ORDERED thisf day of May, 2005.

WICE B. SONALD
ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-204]9 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

